
Appeal from a judgment of the Court of Claims dismissing claimant’s claim upon the merits. Claimant was a prisoner in Sing Sing Prison and had a badly infected finger. He was treated by an inmate nurse who applied hot packs and who opened the finger for the purpose of draining the pus. Claimant offered no proof to show that the treatment administered by the inmate nurse was not the proper treatment. The claimant’s proof fails to establish any negligence or carelessness on the part of the State, its officers, agents or employees. Judgment affirmed. (See Brown v. Shyne, 242 N. Y. 176; Education Law, § 1263, subd. 6.) McNamee, Crapser and Bliss, JJ., concur; Hill, P. J., and Heffleman, J., dissent. (Education Law, § 1263, subd. 6.) [See 245 App. Div. 880.]
